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&lt;div&gt;24CA0316 Peo in Interest of AMB-&lt;span&gt;Y 10&lt;/span&gt;-10-2024 &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;COLORADO COURT OF APPEALS &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Court of Appeals No. 24CA0316  &lt;/div&gt;
&lt;div&gt;Boulder County District Court No. 22JV30011 &lt;/div&gt;
&lt;div&gt;Honorable &lt;span&gt;J. Keith Collins, Judge&lt;/span&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;The People of the State of Colorado, &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Appellee, &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;In the Interest of A.M.B-&lt;span&gt;Y., &lt;/span&gt;a Child, &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;and Concerning C.B.C., &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Appellant, &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;and &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;K.Y.,&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Appellee. &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;JUDGMENT AFFIRMED&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Division VI &lt;/div&gt;
&lt;div&gt;Opinion by JUDGE MOULTRIE &lt;/div&gt;
&lt;div&gt;Welling&lt;span&gt; and Brown, JJ., concur &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;NOT PUBLISHED PURSUANT TO C.A.R. 35(e)&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Announced October 10, 2024 &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Benjamin Pearlman, C&lt;span&gt;ounty&lt;/span&gt; Attorney, Debra W. Dodd, Special Assistant &lt;/div&gt;
&lt;div&gt;County Attorney, Boulder, Colorado, for Appellee The People of the State of &lt;/div&gt;
&lt;div&gt;Colorado &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Robert Tweedell, Guardian Ad Litem&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Patrick R. Henson, &lt;span&gt;Office of Respondent Parentsâ Counsel, Justin Twardowski, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Office of Respondent Parentsâ Counsel, Denver&lt;span&gt;, Colorado, for Appellant &lt;/span&gt;
&lt;/div&gt;
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&lt;div&gt; &lt;/div&gt;
&lt;div&gt;John F. Poor, Office of Respondent Parentsâ Counsel, Denver, Colorado, for &lt;/div&gt;
&lt;div&gt;Appellee K.Y. &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
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&lt;div&gt;&lt;div&gt;
&lt;div&gt;1 &lt;/div&gt;
&lt;div&gt;Â¶ 1&lt;span&gt; &lt;/span&gt;&lt;span&gt;In this dependency and neglect action, C.B.C. (mother) &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;appeals the judgment allocating parental responsibilities f&lt;span&gt;&lt;/span&gt;or &lt;/div&gt;
&lt;div&gt;A.M.B-Y. (the child) to K.Y. (father).  We affirm the judgment. &lt;/div&gt;
&lt;div&gt;I.&lt;span&gt; &lt;span&gt;Background &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 2&lt;span&gt; &lt;/span&gt;&lt;span&gt;When the child was six months old, the Boulder County &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Department of Housing and Human Services (the Department) &lt;/div&gt;
&lt;div&gt;began working with mother and the childâs older sibling.&lt;span&gt;  &lt;span&gt;At that &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;time, the sibling had been out of motherâs care as part of &lt;span&gt;&lt;/span&gt;a &lt;/div&gt;
&lt;div&gt;dependency and neglect action in another county for more than &lt;/div&gt;
&lt;div&gt;three years. &lt;/div&gt;
&lt;div&gt;Â¶ 3&lt;span&gt; &lt;span&gt;The child was added to the siblingâs case as a non&lt;span&gt;-court &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;involved âparticipating childâ in 2020.&lt;span&gt;  &lt;span&gt;In 2022, the juvenile cou&lt;span&gt;&lt;/span&gt;rt &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;overseeing the siblingâs case ordered the Department t&lt;span&gt;&lt;/span&gt;o investigate &lt;/div&gt;
&lt;div&gt;pursuant to section 19-3-501(1), C.R.S. 2024, which authorizes a &lt;/div&gt;
&lt;div&gt;court &lt;span&gt;to&lt;/span&gt; &lt;span&gt;order a department to âmake a preliminary investigation t&lt;span&gt;&lt;/span&gt;o &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;determine whether the interests of the child or of the community &lt;/div&gt;
&lt;div&gt;require that further action be taken.â&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 4&lt;span&gt; &lt;/span&gt;&lt;span&gt;The Department then filed a petition in dependency and &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;neglect concerning the then-three-year-old child.&lt;span&gt;  &lt;/span&gt;The petition &lt;/div&gt;
&lt;div&gt;alleged concerns that mother was not following court &lt;span&gt;&lt;/span&gt;orders entered &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;div id="pf4" data-page-no="4"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;2 &lt;/div&gt;
&lt;div&gt;in the older siblingâs cases to ensure the childâs safety.&lt;span&gt;  &lt;span&gt;The petition &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;also alleged that mother was unable to provide a safe environm&lt;span&gt;&lt;/span&gt;ent &lt;/div&gt;
&lt;div&gt;for the child. &lt;/div&gt;
&lt;div&gt;Â¶ 5&lt;span&gt; &lt;/span&gt;&lt;span&gt;For about a month, the child resided with mother unde&lt;span&gt;&lt;/span&gt;r &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;protective supervision from the Department.&lt;span&gt;  &lt;/span&gt;Then the child was &lt;/div&gt;
&lt;div&gt;moved into fatherâs care, where she resided througho&lt;span&gt;&lt;/span&gt;ut the rest of &lt;/div&gt;
&lt;div&gt;the dependency and neglect case. &lt;/div&gt;
&lt;div&gt;Â¶ 6&lt;span&gt; &lt;/span&gt;&lt;span&gt;The juvenile court adjudicated the child dependent and &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;neglected and adopted a treatment plan for mother.&lt;span&gt;  &lt;/span&gt;Father later &lt;/div&gt;
&lt;div&gt;moved for primary custody and sole decision-making under an &lt;/div&gt;
&lt;div&gt;allocation of parental responsibilities (APR).&lt;span&gt;  &lt;/span&gt;Mother objected and &lt;/div&gt;
&lt;div&gt;moved for primary custody and sole decision-making in her own &lt;/div&gt;
&lt;div&gt;proposed APR. &lt;/div&gt;
&lt;div&gt;Â¶ 7&lt;span&gt; &lt;/span&gt;&lt;span&gt;In February 2024, nearly two years after the petition was &lt;span&gt;&lt;/span&gt;filed &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;and following a three-day contested hearing, the juvenile court &lt;/div&gt;
&lt;div&gt;entered an APR allocating sole custody and decision-making to &lt;/div&gt;
&lt;div&gt;father. &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;/div&gt;
&lt;div id="pf5" data-page-no="5"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;3 &lt;/div&gt;
&lt;div&gt;II.&lt;span&gt; &lt;span&gt;Reasonable Efforts &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 8&lt;span&gt; &lt;/span&gt;&lt;span&gt;Mother first argues that the juvenile court erred by entering &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the APR judgment because the Department failed to make &lt;/div&gt;
&lt;div&gt;reasonable efforts to reunify her with the child.&lt;span&gt;  &lt;/span&gt;We disagree. &lt;/div&gt;
&lt;div&gt;Â¶ 9&lt;span&gt; &lt;/span&gt;&lt;span&gt;A department must make reasonable efforts to rehabilit&lt;span&gt;&lt;/span&gt;ate &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;parents and reunite families when a child is placed &lt;span&gt;â&lt;/span&gt; or is at &lt;/div&gt;
&lt;div&gt;imminent risk of placement &lt;span&gt;â&lt;/span&gt; out of the home.  Â§Â§ &lt;span&gt;19&lt;/span&gt;-1-103(114), &lt;/div&gt;
&lt;div&gt;19&lt;span&gt;-3-100.5, 19-3-208(1), 19-3-604(2)(h), C.R.S. 2024&lt;span&gt;&lt;/span&gt;. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 10&lt;span&gt; &lt;/span&gt;&lt;span&gt;But the child was not in an out-&lt;span&gt;of&lt;/span&gt;-home placement when t&lt;span&gt;&lt;/span&gt;he &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;APR judgment entered &lt;span&gt;â&lt;/span&gt; she had been with father for all but t&lt;span&gt;&lt;/span&gt;he &lt;/div&gt;
&lt;div&gt;first month of the dependency case.&lt;span&gt;  &lt;/span&gt;Â§ &lt;span&gt;19&lt;span&gt;-1-&lt;/span&gt;&lt;/span&gt;&lt;span&gt;103(107) (âPlacement &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;out of the homeâ means placement in a home or center o&lt;span&gt;&lt;/span&gt;perated or &lt;/div&gt;
&lt;div&gt;licensed by a department of human services.).  And the &lt;span&gt;&lt;/span&gt;court &lt;/div&gt;
&lt;div&gt;allocated parental responsibilities between parents, not t&lt;span&gt;&lt;/span&gt;o a &lt;/div&gt;
&lt;div&gt;nonparent.  &lt;span&gt;See People in Interest of A.S.L.&lt;/span&gt;&lt;span&gt;,&lt;/span&gt;&lt;span&gt; &lt;/span&gt;2022 COA 146, Â¶ &lt;span&gt;&lt;/span&gt;20 &lt;/div&gt;
&lt;div&gt;(holding that the court is required to consider reasonable eff&lt;span&gt;&lt;/span&gt;orts &lt;/div&gt;
&lt;div&gt;when it enters an APR to a nonparent).  Accordingly, t&lt;span&gt;&lt;/span&gt;he juvenile &lt;/div&gt;
&lt;div&gt;court was not required to find that the Department made &lt;/div&gt;
&lt;div&gt;reasonable efforts as part of the APR judgment.  &lt;span&gt;See &lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;div&gt;
&lt;img alt="" src="https://icbg.s3.amazonaws.com/media/MMV/nV4/MMVnV47XciMHbtksu3FbPZrYFymzyXg/Nf0Tzg7MWPSUY%3D?AWSAccessKeyId=ASIA5PHC3MTPVUW63MDE&amp;amp;Expires=1728680587&amp;amp;Signature=Wjix%2FSMqcYWHaOTYP1eVn47cb9A%3D&amp;amp;x-amz-security-token=IQoJb3JpZ2luX2VjEDwaCXVzLWVhc3QtMSJIMEYCIQDYG88ugu%2BOG6p%2F7zMM%2FVHyCDVgNMHmYnd9oIYGU8XDiAIhAIyUaRwThLye4IGjjf62NBJ6%2Fn19spB38YJxNMbOwbT4KroFCJX%2F%2F%2F%2F%2F%2F%2F%2F%2F%2FwEQABoMOTI2MDQxMjAzOTM1Igy%2Fxe6MQLdbqJvtgCcqjgVVPR%2F65J0jXCWkurUGFJwG8pgsYUElYvMAGkPyfgawSAWa1ZuPBKwjr9NfsLH6RrC6xgMiRGy95s%2BHm6yp6jlGx5e5M6u06Wg6Tet1VcBtxJ7e1sMzn8hxBijF9bLuVB6v0s4IWD%2BrCEr9pk0trb3z0wEKj25Jbe44JTSOcc6nXHeXjUlrvEnc2yZUg%2BGN%2FdSPnpZaLt9OHv7f%2FGQNHB2yqE%2FNPaLesgSdbUOWeNNkaiGmjI5XkgqPa7LHP9GsDiSq%2BGDhKPwIw5xBxfF4wP0yLZX%2FB6XNhf%2FbidEJp7IdUGU6%2BwCOPxKoD2%2BnUIFSyD1c3Xd51jRs4kGnK8zRyMoOfDdY8%2FkkNBWnKLn1xaIQvHvgOZV2KWNeBzUj2xvokjsTbehFhl6xZzdtG2MFJa5CgJ%2FmUGEO2tVWmVq%2F58Aegb2%2BYe%2BLDPdoCsvbmQOTF6Wz1mq2BDesH2b0Fy8EPuvVT7ThA2YeDabFo%2FgSapi%2BjIWshk9uRMXigipm3SBOel85T428NsZNGM98v4tuERAgmGbQ5B2iQ96tX5qJ2hCzkPhXca%2BNJz%2FlG8gmffmo%2Fbd1fckQzEaZRWS90N1qm1psKJcggYDms02XvvgupwMG%2F3svlQdVWULAvS6Mt%2FNAPLp67Ie89NUMm1iYgKdH64ERXdBBNFjvyvmGLSRCnJWoFrdrRbPvDLYm%2BU0icuHSSKjvmWjWndg3xov40f5%2Fkg7MUT4KRkAUE3haBT2gXjPrXK0hGci0882mj%2BzR67PHstXqZ4W8k1EaqJ1a%2FG5IisjOwFId%2FW8S4lk0b90CrBWOWdQwJJjmy%2BRQpzLVKm%2F0yt%2FCqqPPqQr0YSPv6jkqUVmlvkLigWLzIekn9ym6MTMw9vmluAY6sAHWSqvpjLi%2BmIqidJ8owaWPpUWJHzyaCeXX965wI%2BTs2gpYnz2Qv8GdIkBZ%2FNF5IOj0VFAfS87tXpf6FQA4hD3fBAK3un0fHdgNs78buGxRFKc1EEQ6RcnTIAfhGlLWdSuNxwjXz0yDkJdxPb2EtCDHs13AE6txwmld3xBDhiMXqrYPjue%2FpJ5nL8Y8%2FjsZjY0iJKqPFk%2Be8a7dtoSO2JcHljrG%2FpdPuJ5OaZiqg%2BDabQ%3D%3D"&gt;&lt;div&gt;
&lt;div&gt;4 &lt;/div&gt;
&lt;div&gt;Â§Â§ &lt;span&gt;19&lt;/span&gt;&lt;span&gt;-1-103(114), 19-3-100.5(1), 19-3-208(1), 19-3-604(2)(h); &lt;span&gt;cf. &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;A.S.L.&lt;span&gt;, Â¶ 20. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 11&lt;span&gt; &lt;/span&gt;&lt;span&gt;Mother claims that reasonable-efforts findings were required &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;in her case because the child was at &lt;span&gt;âimminent riskâ of out&lt;/span&gt;&lt;span&gt;-&lt;span&gt;of&lt;/span&gt;&lt;/span&gt;-h&lt;span&gt;&lt;/span&gt;ome &lt;/div&gt;
&lt;div&gt;placement.&lt;span&gt;  &lt;span&gt;Mother asserts that father had âvery extensive &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;responsibilities with regard to [his] other children.â&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 12&lt;span&gt; &lt;span&gt;We arenât persuaded.  Nothing in the record suggests that&lt;span&gt;&lt;/span&gt; the &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;child was at any risk of out-&lt;span&gt;of&lt;/span&gt;-home placement.  To the cont&lt;span&gt;&lt;/span&gt;rary, &lt;/div&gt;
&lt;div&gt;the juvenile court found that father and his wife were âfit&lt;span&gt;&lt;/span&gt; and &lt;/div&gt;
&lt;div&gt;appropriate parents.â&lt;span&gt;  &lt;span&gt;The court acknowledged that other children &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;in fatherâs home required âextra effort and careâ but f&lt;span&gt;&lt;/span&gt;ound that &lt;/div&gt;
&lt;div&gt;father was âable to successfully manage.â&lt;span&gt;  &lt;span&gt;The court found that &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;âextensiveâ home studies in two counties found âno issues at allâ &lt;/div&gt;
&lt;div&gt;with fatherâs home and that father had âreally demonstrated&lt;span&gt; the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;ability to put [the child]âs needs at the forefront.â&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 13&lt;span&gt; &lt;/span&gt;&lt;span&gt;The record supports these findings.  The caseworker testif&lt;span&gt;&lt;/span&gt;ied &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;that father had been âconsistent and proactive in getting &lt;span&gt;&lt;/span&gt;the &lt;/div&gt;
&lt;div&gt;servicesâ that the child needed.&lt;span&gt;  &lt;span&gt;The caseworker routinely observed &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the child in fatherâs home and ânever had concerns about [the &lt;/div&gt;
&lt;div&gt;childâs] needs not being met.â&lt;span&gt;  &lt;span&gt;Father was a certified foster parent &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;
&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf7" data-page-no="7"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;5 &lt;/div&gt;
&lt;div&gt;before the child was placed with him, and the Department&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;determined that father was âan appropriate and fit parentâ at&lt;span&gt;&lt;/span&gt; the &lt;/div&gt;
&lt;div&gt;beginning of the case. &lt;/div&gt;
&lt;div&gt;Â¶ 14&lt;span&gt; &lt;/span&gt;&lt;span&gt;Additionally, when it entered the APR judgment, the court &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;found that âthe Department ha[d] no protective concernsâ an&lt;span&gt;&lt;/span&gt;d it &lt;/div&gt;
&lt;div&gt;ordered the Department to be dismissed from protect&lt;span&gt;&lt;/span&gt;ive &lt;/div&gt;
&lt;div&gt;supervision.&lt;span&gt;  &lt;span&gt;The court record and its judgment granting an &lt;span&gt;&lt;/span&gt;APR to &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;father and dismissing the dependency and neglect action t&lt;span&gt;&lt;/span&gt;herefore &lt;/div&gt;
&lt;div&gt;belie motherâs claim that the child was at âimminent riskâ f&lt;span&gt;&lt;/span&gt;or &lt;/div&gt;
&lt;div&gt;out&lt;span&gt;-&lt;/span&gt;of&lt;span&gt;-home placement. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 15&lt;span&gt; &lt;span&gt;In any case, the juvenile court found that âthe [Departmentâs] &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;efforts in this case were extraordinaryâ and were âway ab&lt;span&gt;&lt;/span&gt;ove and &lt;/div&gt;
&lt;div&gt;beyond what is reasonable or expected.â&lt;span&gt;  &lt;span&gt;The record supports t&lt;span&gt;&lt;/span&gt;he &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;courtâs reasonable&lt;span&gt;-efforts findings.  The Department devis&lt;span&gt;&lt;/span&gt;ed a &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;treatment plan for mother and assisted with transportation .&lt;span&gt;&lt;/span&gt;  The &lt;/div&gt;
&lt;div&gt;caseworker testified that the Department established âa signif&lt;span&gt;&lt;/span&gt;icant &lt;/div&gt;
&lt;div&gt;amount of servicesâ for mother, including many in her ho&lt;span&gt;&lt;/span&gt;me.&lt;span&gt;  &lt;span&gt;The &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Department also provided therapeutic family time because of the &lt;/div&gt;
&lt;div&gt;âhigh level of need for clinical supportâ.&lt;span&gt;  &lt;span&gt;The Department modified &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf8" data-page-no="8"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;6 &lt;/div&gt;
&lt;div&gt;therapeutic family time at motherâs request to include recordings &lt;span&gt;&lt;/span&gt;of &lt;/div&gt;
&lt;div&gt;sessions, written feedback, and multiple supervisors. &lt;/div&gt;
&lt;div&gt;III.&lt;span&gt; &lt;span&gt;Reasonable Accommodations  &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 16&lt;span&gt; &lt;/span&gt;&lt;span&gt;Mother next contends that the juvenile court failed t&lt;span&gt;&lt;/span&gt;o provide &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;reasonable accommodations under the Americans with Disabilitie&lt;span&gt;&lt;/span&gt;s &lt;/div&gt;
&lt;div&gt;Act (ADA) because it denied her motion for in-home family time,&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;more than a year before the APR hearing. &lt;/div&gt;
&lt;div&gt;Â¶ 17&lt;span&gt; &lt;span&gt;But mother does not explain why any prior error in the &lt;span&gt;&lt;/span&gt;courtâs &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;order denying her requested accommodation warrants a &lt;span&gt;&lt;/span&gt;reversal of &lt;/div&gt;
&lt;div&gt;the APR judgment now. &lt;/div&gt;
&lt;div&gt;Â¶ 18&lt;span&gt; &lt;/span&gt;&lt;span&gt;Recall that mother filed a competing APR motion.  The &lt;span&gt;&lt;/span&gt;juvenile &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;court noted that the âissues that were at play as part of &lt;span&gt;&lt;/span&gt;the &lt;/div&gt;
&lt;div&gt;dependency and neglect caseâ were not necessarily the same âissu&lt;span&gt;&lt;/span&gt;es &lt;/div&gt;
&lt;div&gt;[that] impact the [courtâs] analysisâ in deciding competing APR &lt;/div&gt;
&lt;div&gt;motions.&lt;span&gt;  &lt;span&gt;The court found that mother consistently asked for her &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;own APR to enter, despite newly asserting during the APR he&lt;span&gt;&lt;/span&gt;aring &lt;/div&gt;
&lt;div&gt;that the case should be kept open to provide additional service&lt;span&gt;&lt;/span&gt;s.&lt;span&gt;  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Accordingly, the court found that evidence about whether th&lt;span&gt;e &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Department complied with the ADA during the depe&lt;span&gt;&lt;/span&gt;ndency and &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf9" data-page-no="9"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;7 &lt;/div&gt;
&lt;div&gt;neglect action wasnât relevant to its determination of which &lt;span&gt;&lt;/span&gt;of the &lt;/div&gt;
&lt;div&gt;proposed APRs should enter. &lt;/div&gt;
&lt;div&gt;Â¶ 19&lt;span&gt; &lt;span&gt;We agree with the juvenile courtâs analysis.&lt;span&gt; &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 20&lt;span&gt; &lt;/span&gt;&lt;span&gt;To be sure, under the ADA, both the Department and the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;juvenile court must provide reasonable accommodations t&lt;span&gt;&lt;/span&gt;o a parent &lt;/div&gt;
&lt;div&gt;with a qualifying disability when providing services to that &lt;span&gt;&lt;/span&gt;parent.  &lt;/div&gt;
&lt;div&gt;42 U.S.C. Â§ &lt;span&gt;12132 (âno qualified individual with a disability shall,&lt;span&gt;&lt;/span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;by reason of such disability, be excluded from partic&lt;span&gt;&lt;/span&gt;ipation in or be &lt;/div&gt;
&lt;div&gt;denied the benefits of the services . . . of a public entity,&lt;span&gt;&lt;/span&gt; or be &lt;/div&gt;
&lt;div&gt;subjected to discriminationâ); &lt;span&gt;see also&lt;span&gt; 42 U.S.C. Â§ 12102 (defining &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;âdisabilityâ under the ADA); 42 U.S.C. &lt;span&gt;Â§ 12131&lt;/span&gt;(2) (defining âpublic &lt;/div&gt;
&lt;div&gt;entityâ and âqualified individualâ under the ADA).&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 21&lt;span&gt; &lt;span&gt;Additionally, â[a] parentâs disability alone must not serve as a &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;basis for denial or restriction of parenting time or parental &lt;/div&gt;
&lt;div&gt;responsibilitiesâ in APR judgments issued through depen&lt;span&gt;&lt;/span&gt;dency and &lt;/div&gt;
&lt;div&gt;neglect actions, except where the health and welfare of the &lt;span&gt;&lt;/span&gt;child are &lt;/div&gt;
&lt;div&gt;impacted.  Â§ &lt;span&gt;24&lt;/span&gt;&lt;span&gt;-&lt;span&gt;34&lt;/span&gt;&lt;/span&gt;-805(2)(a)(III), C.R.S. 2024. &lt;/div&gt;
&lt;div&gt;Â¶ 22&lt;span&gt; &lt;/span&gt;&lt;span&gt;While a juvenile court must consider whether a department &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;provided reasonable accommodations when determining if&lt;span&gt;&lt;/span&gt; a &lt;/div&gt;
&lt;div&gt;department provided reasonable efforts to a parent,&lt;span&gt;&lt;/span&gt; a &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pfa" data-page-no="a"&gt;
&lt;div&gt;
&lt;img alt="" src="https://icbg.s3.amazonaws.com/media/MME/7E6/MME7E6lP6eopkJpoREW3/GSFEioA3SETl4roos8Xu8RKw%3D?AWSAccessKeyId=ASIA5PHC3MTPVUW63MDE&amp;amp;Expires=1728680587&amp;amp;Signature=o6DOIsZuuSZagSBTo7gdFfwf%2FrM%3D&amp;amp;x-amz-security-token=IQoJb3JpZ2luX2VjEDwaCXVzLWVhc3QtMSJIMEYCIQDYG88ugu%2BOG6p%2F7zMM%2FVHyCDVgNMHmYnd9oIYGU8XDiAIhAIyUaRwThLye4IGjjf62NBJ6%2Fn19spB38YJxNMbOwbT4KroFCJX%2F%2F%2F%2F%2F%2F%2F%2F%2F%2FwEQABoMOTI2MDQxMjAzOTM1Igy%2Fxe6MQLdbqJvtgCcqjgVVPR%2F65J0jXCWkurUGFJwG8pgsYUElYvMAGkPyfgawSAWa1ZuPBKwjr9NfsLH6RrC6xgMiRGy95s%2BHm6yp6jlGx5e5M6u06Wg6Tet1VcBtxJ7e1sMzn8hxBijF9bLuVB6v0s4IWD%2BrCEr9pk0trb3z0wEKj25Jbe44JTSOcc6nXHeXjUlrvEnc2yZUg%2BGN%2FdSPnpZaLt9OHv7f%2FGQNHB2yqE%2FNPaLesgSdbUOWeNNkaiGmjI5XkgqPa7LHP9GsDiSq%2BGDhKPwIw5xBxfF4wP0yLZX%2FB6XNhf%2FbidEJp7IdUGU6%2BwCOPxKoD2%2BnUIFSyD1c3Xd51jRs4kGnK8zRyMoOfDdY8%2FkkNBWnKLn1xaIQvHvgOZV2KWNeBzUj2xvokjsTbehFhl6xZzdtG2MFJa5CgJ%2FmUGEO2tVWmVq%2F58Aegb2%2BYe%2BLDPdoCsvbmQOTF6Wz1mq2BDesH2b0Fy8EPuvVT7ThA2YeDabFo%2FgSapi%2BjIWshk9uRMXigipm3SBOel85T428NsZNGM98v4tuERAgmGbQ5B2iQ96tX5qJ2hCzkPhXca%2BNJz%2FlG8gmffmo%2Fbd1fckQzEaZRWS90N1qm1psKJcggYDms02XvvgupwMG%2F3svlQdVWULAvS6Mt%2FNAPLp67Ie89NUMm1iYgKdH64ERXdBBNFjvyvmGLSRCnJWoFrdrRbPvDLYm%2BU0icuHSSKjvmWjWndg3xov40f5%2Fkg7MUT4KRkAUE3haBT2gXjPrXK0hGci0882mj%2BzR67PHstXqZ4W8k1EaqJ1a%2FG5IisjOwFId%2FW8S4lk0b90CrBWOWdQwJJjmy%2BRQpzLVKm%2F0yt%2FCqqPPqQr0YSPv6jkqUVmlvkLigWLzIekn9ym6MTMw9vmluAY6sAHWSqvpjLi%2BmIqidJ8owaWPpUWJHzyaCeXX965wI%2BTs2gpYnz2Qv8GdIkBZ%2FNF5IOj0VFAfS87tXpf6FQA4hD3fBAK3un0fHdgNs78buGxRFKc1EEQ6RcnTIAfhGlLWdSuNxwjXz0yDkJdxPb2EtCDHs13AE6txwmld3xBDhiMXqrYPjue%2FpJ5nL8Y8%2FjsZjY0iJKqPFk%2Be8a7dtoSO2JcHljrG%2FpdPuJ5OaZiqg%2BDabQ%3D%3D"&gt;&lt;div&gt;
&lt;div&gt;8 &lt;/div&gt;
&lt;div&gt;reasonable-efforts finding was not required here because, as &lt;/div&gt;
&lt;div&gt;discussed above, the child remained with father throughout t&lt;span&gt;&lt;/span&gt;he &lt;/div&gt;
&lt;div&gt;case, she was not at imminent risk of removal, and the court &lt;/div&gt;
&lt;div&gt;allocated responsibilities between mother and father, rath&lt;span&gt;&lt;/span&gt;er than to &lt;/div&gt;
&lt;div&gt;a nonparent.  &lt;span&gt;See People in Interest of S.K.&lt;/span&gt;, 2019 COA 36, &lt;span&gt;&lt;/span&gt;Â¶ 34; &lt;span&gt;see &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;also &lt;span&gt;Â§Â§ &lt;span&gt;19&lt;span&gt;-1-103(114), 19-3-100.5(1), 19-3-208(1), 19-3-604(&lt;span&gt;&lt;/span&gt;2)(h); &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;cf. A.S.L.&lt;span&gt;, Â¶ 20.  Thus, we agree with the juvenile court that wheth&lt;span&gt;&lt;/span&gt;er &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the Department provided reasonable accommodations w&lt;span&gt;asnât &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;relevant to its analysis related to entering an APR to a parent&lt;span&gt;&lt;/span&gt;. &lt;/div&gt;
&lt;div&gt;Â¶ 23&lt;span&gt; &lt;span&gt;More importantly, mother doesnât claim that the APR &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;judgment unduly restricted her parenting time or parent&lt;span&gt;&lt;/span&gt;al &lt;/div&gt;
&lt;div&gt;responsibilities, runs afoul of other state or federal directives &lt;/div&gt;
&lt;div&gt;concerning the ADA, or is in any way deficient.  Absent such a &lt;/div&gt;
&lt;div&gt;showing, motherâs&lt;span&gt; request to vacate the APR judgment &lt;span&gt;&lt;/span&gt;because of &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;any error in denying a request for ADA accommodations du&lt;span&gt;&lt;/span&gt;ring the &lt;/div&gt;
&lt;div&gt;dependency and neglect must fail.  &lt;span&gt;See &lt;/span&gt;C.R.C.P. 61; &lt;span&gt;see also People &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;in Interest of C.C.&lt;span&gt;, 2022 COA 81, Â¶ 20 (alleged errors not &lt;span&gt;&lt;/span&gt;affecting &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the substantial rights of a party are harmless). &lt;/div&gt;
&lt;div&gt;IV.&lt;span&gt; &lt;/span&gt;&lt;span&gt;Disposition &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 24&lt;span&gt; &lt;/span&gt;&lt;span&gt;The judgment is affirmed. &lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;
&lt;/div&gt;
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&lt;/div&gt;
&lt;div id="pfb" data-page-no="b"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;9 &lt;/div&gt;
&lt;div&gt;JUDGE WELLING and JUDGE BROWN concur. &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;
